          Case 1:13-vv-00797-UNJ Document 27 Filed 05/22/15 Page 1 of 7




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-797V
                                        Filed: May 1, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
LUIS GAMARDO,                 *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Measles Mumps Rubella (“MMR”)
                              *                               Vaccine; Idiopathic
SECRETARY OF HEALTH           *                               Thrombocytopenic Purpura (“ITP”).
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.
Glenn MacLeod, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

        On October 15, 2013, Luis Gamardo (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that the administration of a Measles, Mumps, and Rubella (“MMR”) vaccine
on November 15, 2010 caused him to suffer from immune (or “idiopathic”) thrombocytopenic
purpura (“ITP”).

       On May 1, 2015, the parties filed a stipulation in which they state that a decision should
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
         Case 1:13-vv-00797-UNJ Document 27 Filed 05/22/15 Page 2 of 7



be entered awarding compensation. Respondent denies that the MMR vaccine caused
Petitioner’s ITP injury or any other injury and further denies that his current disabilities are a
sequela of a vaccine-related injury. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $50,000.00, in the form of a check payable to Petitioner, representing
       compensation for all damages that would be available under 42 U.S.C. § 300aa-
       15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
Case 1:13-vv-00797-UNJ Document 27
                                25 Filed 05/22/15
                                         05/01/15 Page 3
                                                       1 of 7
                                                            5
Case 1:13-vv-00797-UNJ Document 27
                                25 Filed 05/22/15
                                         05/01/15 Page 4
                                                       2 of 7
                                                            5
Case 1:13-vv-00797-UNJ Document 27
                                25 Filed 05/22/15
                                         05/01/15 Page 5
                                                       3 of 7
                                                            5
Case 1:13-vv-00797-UNJ Document 27
                                25 Filed 05/22/15
                                         05/01/15 Page 6
                                                       4 of 7
                                                            5
Case 1:13-vv-00797-UNJ Document 27
                                25 Filed 05/22/15
                                         05/01/15 Page 7
                                                       5 of 7
                                                            5
